                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

In re:

ABDOUN ESTATE HOLDINGS, LLC,
                                                               Case No. 21-48063
                                                               Chapter 11
            Debtor.                                            Hon. Thomas J. Tucker
____________________________________/

                                APPEARANCE, NOTICE OF
                          APPEARANCE AND REQUEST FOR NOTICES

TO:       All Creditors and Interested Parties

PLEASE TAKE NOTICE that Anthony J. Miller of OSIPOV BIGELMAN, P.C., has this date entered

his appearance in the above-captioned case as counsel for the Debtor and requests that all notices

given or required to be given in this case and all papers served in this case be given to and served

upon the undersigned at the office and address set forth below.

PLEASE TAKE FURTHER NOTICE that the undersigned requests that the court add the

undersigned to the matrix of creditors.

PLEASE TAKE FURTHER NOTICE that the foregoing request includes not only notices and papers

referred to in Bankruptcy Rule 2002, but also includes, without limitation, orders and notices of any

application, motion, petition, pleadings, request, complaint, or demand, whether formal or informal,

whether written or oral, and whether transmitted or conveyed by hand delivery, mail, telephone, telex,

or otherwise which affects the debtor or the property of the debtor.

                                                 Respectfully submitted,

Dated: October 12, 2021                 By:       /s/ Anthony J. Miller
                                                 ANTHONY J. MILLER (P71505)
                                                 Attorney for Debtor
                                                 20700 Civic Center Drive, Suite 420
                                                 Southfield, MI 48076
                                                 Tel: 248-663-1800/Fax: 248-663-1801
                                                 am@osbig.com


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                                                            Case No. 21-48063
                                                            Chapter 11
            Debtor.                                         Hon. Thomas J. Tucker
____________________________________/


Re:       Appearance, Notice of Appearance, and Request for Notices

        I hereby certify that on October 12, 2021, I electronically served the foregoing paper(s) with
the Clerk of the Court using the ECF system which will send notification of such filing to the Office
of the United States Trustee and all those listed by the court as receiving electronic notices in this
case from the court’s CM/ECF system.

                                             Respectfully submitted,


Dated: October 12, 2021               By:     /s/ Anthony J. Miller
                                             ANTHONY J. MILLER (P71505)
                                             Attorney for Debtor
                                             20700 Civic Center Drive, Suite 420
                                             Southfield, MI 48076
                                             Tel: 248-663-1800/Fax: 248-663-1801
                                             am@osbig.com




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